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1
2                            UNITED STATES DISTRICT COURT
3                                   DISTRICT OF NEVADA
4
5     DEREK KIRK,                                      Case No. 3:17-CV-0334-RCJ-CLB
                                          Plaintiff,
6                                                      ORDER
            v.
7
      JAMES KEENER,
8
                                       Defendant.
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10
           Before the court is plaintiff’s motion to direct Marshal to mail waiver of service to
11
     defendant Keener (ECF No. 56). No response was filed.
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           Plaintiff’s motion (ECF No. 56) is DENIED because the U.S. Marshal (“USM”) has
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     no procedural mechanism to complete a waiver of service. However, the court notes that
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     the USM’s previous return of service indicates that all attempts at service on defendant
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     James Keener were made on weekday mornings and two attempts were made on the
16
17   same date only two hours apart (ECF No. 55). Therefore, the court will order the USM to

18   make three further attempts to serve defendant Keener on either differing weekday

19   evenings (from 6:00 pm–10:00 pm) and/or on differing weekend days (8:00 am–7:00 pm).

20         The Clerk shall ISSUE a summons for defendant James Keener and send the

21   same to the USM with the address provided under seal (ECF No. 49) and a copy of this

22   order. The Clerk shall also SEND a copy of the second amended complaint (ECF No.
23   46), the screening order (ECF No. 45), and this order to the USM for service on the
24   defendant. The Clerk shall also SEND to plaintiff one USM-285 form. Plaintiff shall have
25   until Friday, November 6, 2020 to complete the USM-285 form and return it to the U.S.
26   Marshall, 400 South Virginia Street, 2nd Floor, Reno, Nevada 89501.
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1          If plaintiff fails to follow the order, the above-named defendant will be dismissed
2    for failure to complete service of process pursuant to Fed. R. Civ. P. 4(m).
3          IT IS SO ORDERED.
4            October 19, 2020
     DATED: ______________________
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6                                             ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
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